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 7                       UNITED STATES DISTRICT COURT
 8                       EASTERN DISTRICT OF LOUISIANA

 9    IN RE: XARELTO
                                                   MDL 2592
10    (RIVAROXABAN)
                                                   SECTION L
11    THIS DOCUMENT RELATES TO:
                                                   JUDGE ELDON E. FALLON
12
      WALTER BLEILER                               MAGISTRATE JUDGE NORTH
13
                                                   CASE NO. 2:17-cv-00327-EEF-MBN
14
15
16       MOTION TO VOLUNTARILY DISMISS CERTAIN DEFENDANTS
17      WITHOUT PREJUDICE OR, IN THE ALTERNATIVE, TO EXTEND
18                TIME FOR SERVICE ON CERTAIN DEFENDANTS
19      NOW COMES counsel for Plaintiff, Walter Bleiler, pursuant to Federal Rules of
20 Procedure 41(a)(2), and hereby respectfully moves this Honorable Court to dismiss,
21 without prejudice, the above action against Defendants Janssen Ortho LLC, Johnson
22 and Johnson, Bayer Pharma AG, Bayer Healthcare AG, Bayer AG, and Bayer
23 Healthcare Pharmaceuticals, Inc with each party to bear their own costs; or, in the
24 alternative, to extend time for Plaintiff to serve the aforementioned Defendants
25 pursuant to Fed. R. Civ. P. § 4(m). Counsel takes this action pursuant to Fed. R. Civ.
26 Pro. § 4m, as well as to the Court’s orders nos. 10 and 24, because Plaintiff failed to
27 serve the above-named Defendants within the required 60 and 90 days of the filing
28 of Plaintiff’s complaint. The result for a failure to timely serve is a dismissal without
         PLAINTIFF’S MOTION TO VOLUNTARILY DISMISS WITHOUT PREJUDICE, OR IN THE
            ALTERNATIVE, TO EXTEND TIME FOR SERVICE ON CERTAIN DEFENDANTS
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 1
     prejudice; or, in the alternative, to extend time to allow service on Defendants.
 2
      A. FACTUAL BACKGROUND
 3
      Plaintiff filed the subject lawsuit on January 12, 2017, for injuries sustained
 4
     through his ingestion of the bloodthinner Xarelto. Due to a clerical error Plaintiff
 5
     failed to timely serve Defendants Janssen Ortho LLC, Johnson and Johnson, Bayer
 6
     Pharma AG, Bayer Healthcare AG, Bayer AG, and Bayer Healthcare
 7
     Pharmaceuticals, Inc. Plaintiff failed to serve Janssen Ortho LLC and Johnson and
 8
     Johnson within the requisite ninety days and failed to serve the Bayer defendants
 9
     within sixty days as required by Pretrial Order No. 10. On September 21, 2018,
10
     Plaintiff’s counsel notified Defendants’ Lead and Liaison counsel in writing of the
11
     intent to dismiss this claim as to the above-named Defendants without prejudice.
12
     Plaintiff’s counsel further inquired as to whether Defendant’s counsel would be
13
     willing to either stipulate to the dismissal of these defendants without prejudice or,
14
     in the alternative, if Defendant’s counsel would be willing to stipulate as to an
15
     extension of time in which to serve these defendants in order to avoid a dismissal.
16
     Defendant has not responded to Plaintiff’s request for a stipulation. Per the Court’s
17
     Pretrial Orders No. 24 and 24A, this motion is being filed more than fourteen (14)
18
     days after notification to Defendant’s Lead and Liaison Counsel. Further, Plaintiff
19
     ‘s counsel has complied with the filing fee payment provision of PTO No. 11B
20
     (Rec. Doc. 1117) and all applicable filing fees have been paid.
21
      B. PLAINTIFF FAILED TO TIMELY SERVE DEFENDANTS AND AS
22
          SUCH PLAINTIFF’S CLAIMS MUST BE DISMISSED WITHOUT
23
          PREJUDICE
24
        Federal Rule of Civil Procedure 4(m) provides that if service is not effectuated
25
     on a defendant within 90 days of filing the complaint, the court must dismiss the
26
     action without prejudice as to that defendant. Carrington v. Mallon, No. CV 17-
27
     11773, 2018 WL 2275571, at *1 (E.D. Mich. May 2, 2018), report and
28
     recommendation adopted, No. 17-CV-11773, 2018 WL 2268180 (E.D. Mich. May
         PLAINTIFF’S MOTION TO VOLUNTARILY DISMISS WITHOUT PREJUDICE, OR IN THE
            ALTERNATIVE, TO EXTEND TIME FOR SERVICE ON CERTAIN DEFENDANTS
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     17, 2018) (emphasis added). Additionally, the Court’s Pretrial Order No. 24
 2
     expressly allows Plaintiffs to move to dismiss pursuant to Rule 41(a)(1) and states
 3
     “plaintiffs continue to retain the right to individually dismiss certain named
 4
     defendants without dismissing the entire action.” See Court’s Pretrial Order No.
 5
     24.
 6
          Due to a clerical error Plaintiff failed to timely serve Defendants Janssen Ortho
 7
     LLC, Johnson and Johnson, Bayer Pharma AG, Bayer Healthcare AG, Bayer AG,
 8
     and Bayer Healthcare Pharmaceuticals, Inc., within the sixty and ninety days as
 9
     required by court order and law. As such, Plaintiff respectfully requests that the
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     Court dismiss this matter without prejudice as to only those defendants.
11
          In the alternative, Rule 4m additionally allows the Court to extend time for
12
     service on Defendants. It is within the Court’s discretion to extend time, even
13
     without a showing of good cause. See Horenkamp v. Van Winkle And Co., 402
14
     F.3d 1129, 1132 (11th Cir. 2005)(“Thus, today we join our sister circuits and hold
15
     that Rule 4(m) grants discretion to the district court to extend the time for service
16
     of process even in the absence of a showing of good cause.” ) Plaintiff believes
17
     good cause exists here, as allowing an extension of time to serve Defendants would
18
     prevent the Court from being backlogged with multiple cases filed by the Plaintiff.
19
           I.     Conclusion:
20
           Plaintiff respectfully requests that the Court dismiss this case without prejudice,
21
     or in the alternative, to extend time to serve the aforementioned Defendants,
22
     because Plaintiff failed to timely serve Defendants Janssen Ortho LLC, Johnson
23
     and Johnson, Bayer Pharma AG, Bayer Healthcare AG, Bayer AG, and Bayer
24
     Healthcare Pharmaceuticals, Inc.
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     //
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     //
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     //
28
             PLAINTIFF’S MOTION TO VOLUNTARILY DISMISS WITHOUT PREJUDICE, OR IN THE
                ALTERNATIVE, TO EXTEND TIME FOR SERVICE ON CERTAIN DEFENDANTS
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 1
     Dated: October 29, 2018
 2
 3
                                                   The Law Office of L. Paul Mankin
 4
 5
                                                      By: /s/ L. Paul Mankin
 6
                                                          L. PAUL MANKIN
 7
                                                         ATTORNEY FOR PLAINTIFF
 8
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15
                               CERTIFICATE OF SERVICE
16
           The undersigned hereby certifies that on October 29, 2018, the foregoing
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     pleading was filed electronically with the Clerk of Court using the CM/ECF
18
     system. Notice of this filing will be sent to Liaison Counsel for Plaintiffs and
19
     Defendants by operation of the court’s electronic filing system and served on all
20
     other plaintiff counsel via MDL Centrality, which will send notice of electronic
21
     filing in accordance with the procedures established in MDL 2592 pursuant to Pre-
22
     Trial Order No. 17.
23
24
25
26
27
28
         PLAINTIFF’S MOTION TO VOLUNTARILY DISMISS WITHOUT PREJUDICE, OR IN THE
            ALTERNATIVE, TO EXTEND TIME FOR SERVICE ON CERTAIN DEFENDANTS
